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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,


                    Plaintiff,

        v.
                                                     Case No. 19-cv-726 (EGS)
 U.S. DEPARTMENT OF JUSTICE,


                    Defendant.


                                  JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order signed March 16, 2021, the Parties submit the

following joint status report and attached proposed order.

       There are two FOIA requests at issue in this lawsuit, one directed to the FBI, Compl. ¶ 6,

and one to the Department of Justice (“DOJ”) Office of Information Policy (“OIP”), Compl. ¶ 12.

FBI has completed its response to the request and, at Plaintiff’s request and for negotiation

purposes, provided Plaintiff with a Vaughn index for all documents withheld in full and a

description of the search methodology employed in responding to the FOIA request. Plaintiff is

currently evaluating FBI’s search and disclosures.

       OIP has provided the same information to Plaintiff regarding its response to the request

and the Parties have met and conferred regarding OIP’s search and disclosures. As previously

reported to the Court, ECF No. 15, OIP discovered that it had inadvertently excluded certain

custodians from its search that may possess responsive records. OIP informed Plaintiff and

completed a supplemental search, identifying approximately 545 pages of potentially responsive

records. OIP provided an interim release of 257 pages to Plaintiff on May 6, 2021, with the

remaining 289 pages outstanding in consultation with other agencies with equities in these records.
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       OIP also recently conducted a supplemental search on classified systems for records

responsive to the request pursuant to a lead identified in the unclassified search. OIP identified

approximately 104 additional pages containing records responsive to Plaintiff’s request and has

reviewed the records, but is unable to complete processing at this time as these records are

currently also in the consultation process with other Department components. These classified

records were sent out for consultation last week.

       Although OIP is unable to control the timing of the consultation process with other

agencies, OIP anticipates that the outstanding consultation processes will take at least 2 months to

complete. Accordingly, OIP will be unable to complete processing of records before, at the

earliest, late September, 2021.

       In light of the foregoing status, the Parties propose filing a further joint status report by

October 9, 2021, in which they anticipate proposing a schedule for summary judgment briefing in

this litigation if possible, or otherwise updating the Court regarding the status of these proceedings.

Dated: July 8, 2021                                   Respectfully submitted,

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